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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                   CRIMINAL NO. 1:20CR57
                                                (Judge Keeley)

CHRISTOPHER SHOOK,

                  Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 28),
     ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      On   October    21,   2020,    the   defendant,   Christopher    Shook

(“Shook”), appeared before United States Magistrate Judge Michael

J. Aloi and moved for permission to enter a plea of GUILTY to Count

One of the Information. After Shook stated that he understood that

the magistrate judge is not a United States district judge, he

consented to tendering his plea before the magistrate judge.

Previously,    this   Court    had   referred   the   guilty   plea   to   the

magistrate judge for the purposes of administering the allocution

pursuant to Federal Rule of Criminal Procedure 11, making a finding

as to whether the plea was knowingly and voluntarily entered, and

recommending to this Court whether the plea should be accepted.

      Based upon Shooks’s statements during the plea hearing and the

government’s proffer establishing that an independent factual basis

for the plea existed, the magistrate judge found that Shook was

competent to enter a plea, that the plea was freely and voluntarily
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given, that he was aware of the nature of the charges against him

and the consequences of his plea, and that a factual basis existed

for the tendered plea. The magistrate judge entered a Report and

Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

(dkt. no. 28) finding a factual basis for the plea and recommending

that this Court accept Shook’s plea of guilty to Count One of the

Information.

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R. He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R. The parties did not file

any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

ACCEPTS Shook’s guilty plea, and ADJUGES him GUILTY of the crime

charged in Count One of the Information.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until it

has received and reviewed the presentence report prepared in this

matter.



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        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

follows:

        1.   The Probation Officer shall undertake a presentence

investigation of Shook and prepare a presentence report for the

Court;

        2.   The Government and Shook shall provide their versions of

the offense to the probation officer by November 13, 2020;

        3.   The presentence report shall be disclosed to Shook,

defense counsel, and the United States on or before January 13,

2021;    however,   the   Probation   Officer   shall   not   disclose   any

sentencing recommendations made pursuant to Fed. R. Crim. P.

32(e)(3);

        4.   Counsel may file written objections to the presentence

report on or before January 27, 2021;

        5.   The Office of Probation shall submit the presentence

report with addendum to the Court on or before February 10, 2021;

and

        6.   Counsel may file any written sentencing statements and

motions for departure from the Sentencing Guidelines, including the




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factual basis from the statements or motions, on or before February

17, 2021.

      The magistrate judge remanded Shook to the custody of the

United States Marshal Service.

      The   Court   will   conduct    the   sentencing   hearing    for   the

defendant on March 3, 2021 at 11:00 A.M. at the Clarksburg, West

Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

DATED: November 5, 2020


                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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